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                          EXHIBIT F
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       From: Amanda Gorton <amanda@corellium.com>
          To: Vivian Tshabalala <vivian.g@rockdesign.com>
     Subject: Re: Thank you for your interest in a reorder
        Date: 2018-06-26 14:52:31 -0400
  Importance: Normal


Hi Vivian,

Ground shipping will be perfect for us this time.

Just a slight correction – it looks like you may have accidentally copied the old address, just want to confirm they’ll
go to our Florida office rather than the California location:
Amanda Gorton
16 E Ocean Ave
Ocean Ridge, FL 33435
United States
8167283352

The Ground option is still good for that though :)

Thanks very much!
Amanda



From: Vivian Tshabalala <vivian.g@rockdesign.com>
Date: Tuesday, June 26, 2018 at 14:38
To: Amanda Gorton <amanda@corellium.com>
Subject: Re: Thank you for your interest in a reorder

Hello Amanda;

Thank you for providing us with your shipping address; please select a shipping method from the options below.

Shipping 100 cards (2 sets of 50) to:

Amanda Gorton
2825 Sand Hill Rd.
Menlo Park, California 94025
United States
8167283352



                FedEx Ground (3-5 business days): Free* for orders over $199 USD (*paid for within the month of promotion)
                FedEx Economy (2 business days): $55.98
                FedEx Priority (1 business day): $94.13
Order Details:


        Paper/Material: Stainless Steel w/ Anodized Black

        Thickness: 0.5mm

        Size: 3.5 x 2

        Finishings 1st Side: laser engraving

        Finishings 2nd Side: laser engraving

        Additional: n/a

        Qty: 50 Sets: 2


        SALE 5% OFF
        DISCOUNTED TOTAL



        $ 456.00 USD
        REGULAR PRICE
        $ 480.00 USD


We look forward to hearing from you.

Best,




                                                                                                                             Correllium-001933
        Case 9:19-cv-81160-RS Document 342-6 Entered on FLSD Docket 04/20/2020 Page 3 of 15
Vivian Tshabalala
Design Coordinator

We are open from Monday - Friday 9am - 4pm Pacific Time.
How do you find our service? Please help us improve by filling out a 2 minute survey here.




Please note that RockDesign will be closed on Monday, July 2nd for Canada Day. We will reopen with regular
business hours on Tuesday, July 3rd. For the purposes of production time, July 2nd is not considered a business day.


RockDesign
Quality offset printing + design company
www.rockdesign.com



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without reading it, and without making, forwarding, or retaining any copy or record of it or its contents.
Thank you. NOTE: We have taken precautions against viruses, but take no responsibility for loss or
damage caused by any virus present.




On Tue, Jun 26, 2018 at 10:41 AM, Amanda Gorton <amanda@corellium.com> wrote:

   Hi Vivian,

   Thank you! For this order, the shipping address will be:

   Amanda Gorton
   16 E Ocean Ave
   Ocean Ridge, FL 33435
   United States
   8167283352

   Best regards,
   Amanda

   From: Vivian Tshabalala <vivian.g@rockdesign.com>
   Date: Tuesday, June 26, 2018 at 13:37
   To: Amanda Gorton <amanda@corellium.com>
   Subject: Re: Thank you for your interest in a reorder

   Hello Amanda;

   Thank you for contacting RockDesign regarding your reorder. I am happy to assist you moving forward.
   Please let us know which shipping address you would like to use for this order, so that we can provide you with accurate shipping
   rates



             Paper/Material: Stainless Steel w/ Anodized Black

             Thickness: 0.5mm

             Size: 3.5 x 2

             Finishings 1st Side: laser engraving

             Finishings 2nd Side: laser engraving

             Additional: n/a

             Qty: 50 Sets: 2


             SALE 5% OFF
             DISCOUNTED TOTAL



             $ 456.00 USD
             REGULAR PRICE
             $ 480.00 USD


   According to our records, we have your billing/shipping address as (please confirm):

   Amanda Gorton
   2825 Sand Hill Rd.
   Menlo Park, California 94025
   United States
   8167283352




                                                                                                                                       Correllium-001934
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We look forward to hearing from you.

Best,




Vivian Tshabalala
Design Coordinator

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How do you find our service? Please help us improve by filling out a 2 minute survey here.




Please note that RockDesign will be closed on Monday, July 2nd for Canada Day. We will reopen with regular
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www.rockdesign.com



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of it or its contents. Thank you. NOTE: We have taken precautions against viruses, but take no
responsibility for loss or damage caused by any virus present.



On Tue, Jun 26, 2018 at 8:33 AM, Amanda Gorton <amanda@corellium.com> wrote:
   Hi Vivian,

   I hope you are having a great week!

   I would love to place a re-order for the two sets of cards in the proof I've attached here, one set for Chris
   Wade and the other set for myself.

   Could you please quote us for a set of 50 of each?

   Thank you so much, and best regards,
   Amanda
   From: Vivian Tshabalala <vivian.g@rockdesign.com>
   Sent: Thursday, April 5, 2018 1:41:37 PM
   To: Amanda Gorton
   Subject: Re: Thank you for your interest in a reorder

   Hi Amanda;

   Thank you for approving your proof!

   Our Orders Department will facilitate moving your order into Production and will be your contact point for
   status updates. Please keep in mind that our estimated production time does not include weekends or
   holidays.
   Once your order has been shipped - you will receive a tracking number from our Shipping Department.

   Thanks again for choosing RockDesign.com; we look forward to creating your order.

   Best,




   Vivian Tshabalala
   Design Coordinator

   Please note that RockDesign was closed on Friday, March 30 for Good Friday. We reopened with regular
   business hours on Monday, April 2nd. For the purposes of production time, March 30th is not considered a
   business day.

   Please note that Vivian will be away from the office from April 13 - 20. During this time, all email correspondence will be
   managed by an Associate Design Coordinator.

   We are open from Monday - Friday 9am - 4pm Pacific Time.
   How do you find our service? Please help us improve by filling out a 2 minute survey here.


   RockDesign
   Quality offset printing + design company
   www.rockdesign.com



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of the intended recipient), please notify the sender immediately and delete or destroy this
communication without reading it, and without making, forwarding, or retaining any copy or record
of it or its contents. Thank you. NOTE: We have taken precautions against viruses, but take no
responsibility for loss or damage caused by any virus present.


On Thu, Apr 5, 2018 at 10:25 AM, Amanda Gorton <amanda@corellium.com> wrote:

  Hi Vivian,



  Thanks so much! This looks perfect. I’ve attached a signed copy of the proof here.



  Best regards,

  Amanda




  From: Vivian Tshabalala <vivian.g@rockdesign.com>
  Date: Thursday, April 5, 2018 at 12:43
  To: Amanda Gorton <amanda@corellium.com>
  Subject: Re: Thank you for your interest in a reorder



  Hello Amanda;



  Thank you for your order. Your payment has been processed. Moving forward, please take a
  moment to review the official PDF proof (attached below) to ensure that your order
  specifications are correct - including design, quantity, and shipping address; RockDesign will not
  be responsible for errors after the client has approved the proof.




  If all looks acceptable, please acknowledge such by signing the proof (you will notice there is a place for
  your signature on the last page of the PDF), either digitally or manually, and send it back to us. Once we
  have received your signed confirmation, production of your cards will begin.




  Best,




  Vivian Tshabalala
  Design Coordinator

  Please note that RockDesign was closed on Friday, March 30 for Good Friday. We reopened with regular
  business hours on Monday, April 2nd. For the purposes of production time, March 30th is not considered a
  business day.

  Please note that Vivian will be away from the office from April 13 - 20. During this time, all email correspondence will be
  managed by an Associate Design Coordinator.

  We are open from Monday - Friday 9am - 4pm Pacific Time.

  How do you find our service? Please help us improve by filling out a 2 minute survey here.




  RockDesign

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  www.rockdesign.com




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                                                                                                                                Correllium-001936
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On Wed, Apr 4, 2018 at 11:44 AM, Vivian Tshabalala <vivian.g@rockdesign.com> wrote:

  Hello Amanda;

  Thank you for selecting your preferred shipping method. Moving forward with your order,
  you will receive a payment link directly from PayPal. Please check your spam/junk mail as
  it may have been filed there by mistake.

         Note: An existing PayPal account is not required for this transaction; when prompted
         you may enter your credit card details.

  Once we have processed your payment, an official Sales Receipt will be sent to you to
  confirm your payment. You will then receive an email with a final PDF proof for approval
  prior to Production.


  Order Details:




         Paper/Material: Stainless Steel w/ Anodized Black



         Thickness: 0.5mm



         Size: 3.5 x 2



         Finishings 1st Side: laser engraving



         Finishings 2nd Side: laser engraving



         Additional: n/a



         Qty: 25 Sets:3




         SALE 5% OFF
         DISCOUNTED TOTAL


         $ 262.20 USD
         REGULAR PRICE


         $ 276.00 USD

  Shipping:

  Nikias Bassen
  Bramweg 29A
  22589 Hamburg
  Germany

                  FedEx Economy (3 business days): $73.68

                  Rob Turner

  8425 Summerdale Road Unit A
  San Diego, CA, 92126


   FedEx Ground (3-6 business days): $29.48

  Alex Hude
  50 Golden Ave
  Bonbeach, VIC
  3196 Australia

                  FedEx Economy (6 business days): $97.26

  Order total: $462.62




                                                                                                Correllium-001937
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  Vivian Tshabalala
  Design Coordinator

  Please note that RockDesign was closed on Friday, March 30 for Good Friday. We reopened with regular
  business hours on Monday, April 2nd. For the purposes of production time, March 30th is not considered a
  business day.

  Please note that Vivian will be away from the office from April 13 - 20. During this time, all email correspondence will
  be managed by an Associate Design Coordinator.

  We are open from Monday - Friday 9am - 4pm Pacific Time.

  How do you find our service? Please help us improve by filling out a 2 minute survey here.




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  or record of it or its contents. Thank you. NOTE: We have taken precautions against viruses,
  but take no responsibility for loss or damage caused by any virus present.



  On Wed, Apr 4, 2018 at 11:07 AM, Amanda Gorton <amanda@corellium.com> wrote:

     Hi Vivian,



     Understood -- let's do Fedex Economy for the international sets, and Ground for the US address.



     Thanks very much!



     Best regards,

     Amanda



     On April 4, 2018 at 13:20:08, Vivian Tshabalala (vivian.g@rockdesign.com) wrote:

       Hello Amanda;



       Thank you for your email. Please note that FedEx Ground Shipping is not available for International
       shipping as it must travel by air to reach it's location. Please see the shipping rates for each
       individual set below:

       Nikias Bassen
       Bramweg 29A
       22589 Hamburg
       Germany

                FedEx Economy (3 business days): $73.68
                FedEx Priority (2 business days): $81.29
       Rob Turner
       8425 Summerdale Road Unit A
       San Diego, CA, 92126


                                   FedEx Ground (3-6 business days): $29.48

                                   FedEx Economy (2 business days): $50.62

                                   FedEx Priority (1 business day): $81.64




                  Alex Hude

                  50 Golden Ave

                  Bonbeach, VIC

                  3196 Australia




                                                                                                                             Correllium-001938
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                      FedEx Economy (6 business days): $97.26
                      FedEx Priority (4 business days): $107.23

              Please let us know how you would like to proceed.



   Best,



   Vivian Tshabalala
   Design Coordinator

   Please note that RockDesign will be closed on Friday, March 30 for Good Friday. We will reopen with
   regular business hours on Monday, April 2nd. For the purposes of production time, March 30th is not
   considered a business day.

   Please note that Vivian will be away from the office from April 13 - 20. During this time, all
   email correspondence will be managed by an Associate Design Coordinator.

   We are open from Monday - Friday 9am - 4pm Pacific Time.

   How do you find our service? Please help us improve by filling out a 2 minute survey here.




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   www.rockdesign.com




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   forwarding, or retaining any copy or record of it or its contents. Thank you. NOTE: We
   have taken precautions against viruses, but take no responsibility for loss or damage
   caused by any virus present.



   On Tue, Apr 3, 2018 at 11:40 AM, Amanda Gorton <amanda@corellium.com> wrote:

      Hi Vivian,



      I hope you had a lovely Easter weekend! Thanks so much for getting back to us so quickly!



      All of the information for the sets looks perfect. For shipping, I was wondering if you might be
      able to ship these sets directly to each individual? If so, here is the shipping information for each
      employee:



      Nikias Bassen

      Bramweg 29A

      22589 Hamburg

      Germany



      Rob Turner

      8425 Summerdale Road Unit A

      San Diego, CA, 92126



      Alex Hude

      50 Golden Ave

      Bonbeach, VIC

      3196 Australia




                                                                                                              Correllium-001939
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     We could do Ground for each of them.



     If you’re not able to ship the sets to each individual, you can ship them to me at this address:

     Amanda Gorton

     16 E Ocean Ave

     Ocean Ridge, FL 33435

     United States

     8167283352



     Sincerest regards,

     Amanda




     From: Vivian Tshabalala <vivian.g@rockdesign.com>
     Date: Monday, April 2, 2018 at 14:31
     To: Amanda Gorton <amanda@corellium.com>
     Subject: Re: Thank you for your interest in a reorder



     Hello Amanda;



     Thank you for your patience as RockDesign was closed for the long weekend. Please see your order
     details and shipping rates below:



     Set #1

     Nikias Bassen

     VP Platform & Security

     +49 152 53 57 15 86

     nikias@corellium.com

     corellium.com



     Set #2

     Alexander Hude

     Principal Engineer

     +61 4 2396 2212

     alex@corellium.com

     corellium.com



     Set #3

     Rob Turner

     Principal Engineer

     1-858-231-2478

     rob@corellium.com

     5BEE 361F 6074 1DA2 0A98
     F335 DA4F 4B3B AD5B 33E8




              Paper/Material: Stainless Steel w/ Anodized Black



              Thickness: 0.5mm



              Size: 3.5 x 2




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              Finishings 1st Side: laser engraving



              Finishings 2nd Side: laser engraving



              Additional: n/a



              Qty: 25 Sets:3




              SALE 5% OFF
              DISCOUNTED TOTAL


              $ 262.20 USD
              REGULAR PRICE


              $ 276.00 USD

     According to our records, we have your billing/shipping address as (please confirm):



     Amanda Gorton

     2825 Sand Hill Rd.

     Menlo Park, California 94025

     United States

     8167283352



     Please select a shipping method from the options below:

                                oFedEx Ground (3-6 business days): $29.48

                                oFedEx Economy (2 business days): $50.62

                                oFedEx Priority (1 business day): $81.64




     We look forward to hearing from you.



     Best,




     Vivian Tshabalala
     Design Coordinator

     Please note that RockDesign will be closed on Friday, March 30 for Good Friday. We will reopen
     with regular business hours on Monday, April 2nd. For the purposes of production time, March 30th
     is not considered a business day.

     Please note that Vivian will be away from the office from April 13 - 20. During this time, all
     email correspondence will be managed by an Associate Design Coordinator.

     We are open from Monday - Friday 9am - 4pm Pacific Time.

     How do you find our service? Please help us improve by filling out a 2 minute survey here.




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     www.rockdesign.com




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     immediately and delete or destroy this communication without reading it, and without
     making, forwarding, or retaining any copy or record of it or its contents. Thank you.
     NOTE: We have taken precautions against viruses, but take no responsibility for loss or
     damage caused by any virus present.



     On Fri, Mar 30, 2018 at 5:52 AM, Amanda Gorton <amanda@corellium.com> wrote:

       Hi Vivian!



       I was wondering if I might be able to place another re-order based on the same proof for our
       new employees? We would do the same as before with 25 cards per set.




       Set #1

       Nikias Bassen

       VP Platform & Security

       +49 152 53 57 15 86

       nikias@corellium.com

       corellium.com



       Set #2

       Alexander Hude

       Principal Engineer

       +61 4 2396 2212

       alex@corellium.com

       corellium.com



       Set #3

       Rob Turner

       Principal Engineer

       1-858-231-2478

       rob@corellium.com

       5BEE 361F 6074 1DA2 0A98 F335 DA4F 4B3B AD5B 33E8



       For the last set, the employee was wondering if we could put his “PGP key” on the card, which
       is that long series of numbers and letters. This could go in place of “corellium.com”. Will this fit
       on the card? It could wrap to the next line, if that’s an option. If it won’t fit, it’s not critical.



       Thank you so much!

       Best regards,

       Amanda




       From: Vivian Tshabalala <vivian.g@rockdesign.com>
       Date: Thursday, February 15, 2018 at 14:02
       To: Amanda Gorton <amanda@corellium.com>
       Subject: Thank you for your interest in a reorder




                                                                                                               Correllium-001942
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      Hello Amanda;



      Thank you for contacting RockDesign regarding your reorder. I am happy to assist you moving forward.
      I have attached your previous Design File below for reference.



       Qty: 25

       Sets: 2



       Set #1

       Stan Skowronek

       Co-Founder

       408-338-9454

       stan@corellium.com

       corellium.com



       Set #2

       David Wang

       Co-Founder

       503-501-9000

       david@corellium.com
       corellium.com




             Paper/Material: Stainless Steel w/ Anodized Black



             Thickness: 0.5mm



             Size: 3.5 x 2



             Finishings 1st Side: laser engraving



             Finishings 2nd Side: laser engraving



             Additional: n/a



             Qty: 25 Sets: 2




             SALE 5% OFF
             DISCOUNTED TOTAL


             $ 237.50 USD
             REGULAR PRICE


             $ 250.00 USD



      According to our records, we have your billing/shipping address as (please confirm):



      Amanda Gorton

      2825 Sand Hill Rd.

      Menlo Park, California 94025

      United States




                                                                                                             Correllium-001943
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      8167283352



      Please select a shipping method from the options below:

                        FedEx Ground (3-6 business days): $29.48
                        FedEx Economy (2 business days): $50.62
                        FedEx Priority (1 business day): $81.64




      We look forward to hearing from you.



      Best,




                  From: Amanda Gorton <amanda@corellium.com>
                  Date: February 14, 2018 at 6:55:11 PM PST
                  To: RockDesign Orders <orders@rockdesign.com>
                  Subject: Re: #22168 Order

                  Hi!



                  I was wondering if I might be able to place an order based on our previous proof? We really love this design, we
                  just wanted to order sets for two additional employees. We’d like to keep the layout and format the same, just the
                  individual’s information would change. We’d like to order a set of 25 for each employee (just like last time).



                  For the first set, it would be:

                  Stan Skowronek

                  Co-Founder

                  408-338-9454

                  stan@corellium.com

                  corellium.com



                  For the second set, it would be:

                  David Wang

                  Co-Founder

                  503-501-9000

                  david@corellium.com
                  corellium.com



                  Let me know if it’s OK to order this way or if we should order through the website, it’s no problem.

                  Thanks so much!

                  Amanda




      Vivian Tshabalala
      Design Coordinator

      We are open from Monday - Friday 9am - 4pm Pacific Time.

      How do you find our service? Please help us improve by filling out a 2 minute survey here.




      RockDesign

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      communication on behalf of the intended recipient), please notify the sender
      immediately and delete or destroy this communication without reading it, and without
      making, forwarding, or retaining any copy or record of it or its contents. Thank you.
      NOTE: We have taken precautions against viruses, but take no responsibility for loss
      or damage caused by any virus present.




                                                                                              Correllium-001945
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